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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION
    UNITED STATES OF AMERICA and    §
    STATE OF TEXAS ex rel. DR. JOSE §
    DONES                           §                       CIVIL ACTION NO. 1:21-cv-00181
                                    §
      Plaintiffs                    §
                                    §
      vs.                           §
                                    §
    HARLINGEN MEDICAL CENTER, L.P. §
    DR. ERIC G. SIX, VALLEY         §
    NEUROSURGEONS, P.L.LC.,         §
    MICHAEL GONZALEZ, NUERA         §
    MEDICAL L.L.C. and PRIME        §
    HEALTHCARE SERVICES, INC.       §
                                    §
          Defendants                §

        DEFENDANTS MICHAEL GONZALEZ AND NUERA MEDICAL L.L.C.’S
         MOTION TO DISMISS UNDER FEDERAL RULES 12(b)(6) and 9(b)


        Defendants, Michael Gonzales (“Mr. Gonzales”) and NuERA Medical, L.L.C.

(“NuERA”) (collectively, “Moving Defendants”), ask for this Court to dismiss Dr. Jose

Dones’ (“Relator”) First Amended Complaint (Dkt. 18, “Complaint”), based on Federal Rule

of Civil Procedure (“Rule”) 12(b)(6) for failure to state a claim, and based on Rule 9(b) for

failure to meet the heightened pleading standard for claims alleging fraud.1




1
 Moving Defendants also join in and concur in the arguments advanced by co-defendants Harlingen
Medical Center, L.P. (“HMC”), Prime Healthcare Services, Inc. (“Prime”), Dr. Eric G. Six (“Dr.
Six”), and Valley Neurosurgeons, P.L.L.C. (“Valley”).


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    I.    PRELIMINARY STATEMENT

          Relator’s pleading can be summarized thusly:

                  I, Relator, am a surgeon. One of my competitors who has served as an expert witness
                  against me, Dr. Six, works with a different hospital. I think his son-in-law does business
                  with that hospital. I think that should be illegal. Don’t ask me how I know this, or
                  details, because I have none (and I didn’t plead them, twice).
          This is a non-intervened2 False Claims Act (31 U.S.C. § 3730 et seq. (“FCA”)) case,

which tries to allege fraud. Rule 9(b) requires Relator to plead his claims with particularity and

specify the “who, what, where, when, and how”3 of the alleged fraud to protect Moving

Defendants from reputational harm. Rule 9(b) is meant to weed out the type of speculative claims

Relator lodges here (before expensive discovery).4
          Relator’s FCA and Texas Medicaid Fraud Prevention Act (“TMFPA”) 5 claims against

Moving Defendants should be dismissed because they are legally deficient, and fail to meet the

Fifth Circuit’s Rule 9(b) pleading standard. Relator does not provide: (a) a single example of a

false or fraudulent claim submitted to the government; nor does he (b) particularize the facts of

an alleged Federal Stark Law, 42 U.S.C. 1395nn (“Stark Law”) or Federal Anti-kickback law, 42

U.S.C. 1320a-7b(b)(“AKS”) scheme; nor does he (c) provide reliable indicia leading to a strong

inference that actual false claims were submitted.6 Relator masquerades the allegations as factual

support. But the Complaint reveals unsupported threadbare recitals, legal conclusions,

speculation, and innuendo. The Court should dismiss the FCA and TMFPA claims with

2
  Over a year after the complaint was filed and reviewed, the United States and Texas declined to
intervene. (Dkt. 13 and 14).
3
    United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.1997).
4
  Rule 9(b) has four purposes: adequate notice to defendant; protecting against frivolous suits; eliminating
fraud actions in which all the facts are learned after discovery; and to protect defendants from
undeserved harm to their goodwill and reputation. See Sanderson v. Allstate Fire and Cas. Ins. Co., CV H-
22-3536, 2023 WL 417478, at *1 (S.D. Tex. Jan. 25, 2023).
5
    The TMFPA is the Texas State Law’s functional equivalent of the FCA.
6
 To satisfy Rule 9(b), the Fifth Circuit requires examples of “actual false claims” or “particular details of
a scheme to submit false claims paired with reliable indicia that lead to a strong inference that the claims
were actually submitted.” U.S. ex rel. Grubbs v Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009) (“Grubbs”).


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prejudice, or decline supplemental jurisdiction over TMFPA claims.7

    II.      SUMMARY OF THE CLAIMS

             Relator filed this case under seal on November 17, 2021, alleging FCA and TMFPA

claims based on alleged Stark Law and AKS violations. (Dkt. 1). On January 23, 2023, the United

States declined to intervene, (Dkt. 13), and on January 25, 2023, the Texas Attorney General

joined in the declination. (Dkt. 14). The complaint was unsealed on January 26, 2023 (Dkt. 15).

On March 27, 2023, Relator filed an Amended Complaint as of right (Rule 15). (Dkt. 18).

          The Complaint is no more than a parroting of the relevant statutes, coupled with a one

sentence speculation8 that HMC and Prime induced Dr. Six to perform surgeries at their
facilities, purportedly by agreeing to buy surgical hardware supplies from NuERA9 which is

owned by Dr. Six’s son-in-law, Mr. Gonzales. (Dkt. 18, p. 1, ¶ 2). Based on pure speculation, the

Complaint then alleges four counts of violations, discussed below.

III.         STATEMENT OF THE ISSUES BEFORE THE COURT

         1.      Whether Relator’s Amended FCA claims should be dismissed with prejudice for
failure to state a claim under Rule 12(b)(6), or for failure to plead fraud with particularity as
required by Rule 9(b)? Answer: Yes.

       2.      Whether Relator’s FCA claims should be dismissed with prejudice for failure
plead with particularity underlying Stark Law and AKS violations? Answer: Yes.

        3.      Whether the Court should dismiss Relator’s TMFPA claims for failure to state a
claim under Rule 12(b)(6), and/or failure to plead fraud with particularity under Rule 9(b), or in
the alternative, decline to exercise supplemental jurisdiction? Answer: Yes.
IV.          SUMMARY OF THE ARGUMENT

             First, Relator fails to plead FCA claims against Moving Defendants based on Stark Law as

the statute only applies to referring physicians and persons/entities furnishing Designated Health

7
 Relator amended his Complaint once as of right. If Relator had the necessary facts to sustain his
pleading, he would have already added them to the Complaint. Dismissal with prejudice is appropriate.
8
 The speculation could also be called rumor or innuendo. This Court should not allow itself to be
weaponized to further Dr. Dones-Valesques’ long-standing personal vendetta against Dr. Six.
9
  Relator amendments to the Complaint rendered it more implausible/less particularized by alleging
HMC agreed to purchase equipment from non-defendant companies represented by Gonzales
(Xspine/Xtant), without distinguishing from NuERA with dates, times, or specifics (Dkt. 18, p. 11, ¶ 47).


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Services (“DHS”). Relator has not/cannot plead that Moving Defendants are physicians or that

they furnish DHS—as they do not. Even assuming arguendo that Moving Defendants could be

held liable under Stark Law (they cannot), Relator fails to plead (a) sufficient facts to allege, with

particularity, a Stark Law scheme involving Moving Defendants; and/or (b) reliable indicia

leading to a strong inference that false claims were submitted based on Stark Law violations. The

FCA claims based on alleged Stark Law violations should be dismissed.

        Second, Relator fails to plead, with factual particularity, an AKS scheme involving

Moving Defendants, including the elements of (a) actual inducement or referrals; (b)

remuneration; or (c) that Moving Defendants knowingly intended to violate the AKS. Relator

also fails to plead any reliable indicia leading to a strong inference that false claims were

submitted based on alleged AKS violations. This requires dismissal.

        Third, Relator has not plead with particularity that Moving Defendants expressly or

impliedly certified compliance with the Stark Law or AKS, that they presented claims (let alone

false claims), or that they “caused” false claims to be submitted to the government.

        Fourth, Relator did not “rigorously” plead facts showing that Moving Defendants acted

with the scienter required by the FCA (knowing or deliberate/reckless disregard).10 Failure to
properly plead scienter requires dismissal of all claims against Moving Defendants.

        Fifth, Relator did not plead facts to show that Moving Defendants agreed to violate the

FCA (submit false claims/defraud the government). Relator did not plead “who, what, where,

when, and how” of a specific agreement to defraud the government or an act to further that

agreement. The conspiracy claims should be dismissed.

        Finally, TMFPA claims also face Rule 9(b). For all the above reasons, Relator did not

meet the heightened pleading standard for fraud requiring dismissal of TMFPA claims.

Alternatively, as the FCA claims should be dismissed, this Court should decline supplemental

jurisdiction and dismiss TMFPA claims under 28 U.S.C. § 1367(c)(3).

10
  Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989, 192, 195 L. Ed. 2d 348 (2016) (“Escobar”)
(the “scienter requirements…are rigorous.”) (emphasis added)


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 V.    LEGAL STANDARDS
    A. RULE 12(B)(6)
        To survive a Rule 12(b)(6) challenge, Relator must plead enough facts to state a claim for

relief that is plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Plausibility

demands more than “a formulaic recitation of the elements of a cause of action,” or “naked

assertions devoid of further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Relator must demonstrate more than a possibility that Defendants acted unlawfully and “more

than an unadorned, the-defendant-unlawfully-harmed-me accusation[s].” Id. The facts must

“raise a right to relief above the speculative level.” United States v. Abundant Life Therapeutic

Services Texas, LLC, CV H-18-773, 2019 WL 1930274, at *3 (S.D. Tex. Apr. 30, 2019).

    B. RULE 9(B)

    A FCA Complaint must meet the heightened pleading standard of Rule 9(b). Grubbs , 565

F.3d at 185 n.8. Rule 9(b) states that “a party Case must state with particularity the

circumstances constituting fraud,” and “requires, at a minimum, that a plaintiff set forth the

‘who, what, when, where, and how’ of the alleged fraud.” See also, U.S. ex rel. Shupe v. Cisco Sys.,

Inc., 759 F.3d 379, 382 (5th Cir. 2014). Particularity requirements serve as a “counterweight to

the FCA’s power and [] shield against fishing expeditions [by providing] a screening function”

United States ex rel. Gage v. Davis S.R. Aviation, L.L.C., 623 F. App’x 622, 623 (5th Cir. 2015)).

    C. FCA PLEADING REQUIREMENTS

        FCA, Section 3729(a)(1)(A) imposes liability on a person who “knowingly presents, or

causes to be presented, a false or fraudulent claim for payment or approval” to the government.

FCA, Section 3729(a)(1)(B) imposes liability on a person who “knowingly makes, uses, or causes

to be made or used, a false record or statement material to a false or fraudulent claim.” 31 U.S.C.

§§ 3729(a)(1)(A) and (B). Section 3729(a)(1)(C) imparts liability to any person who “conspires

to commit a violation of subparagraph (A) [or] (B)…” 31 U.S.C. § 3729(a)(1)(C).

        The Fifth Circuit summarized the FCA inquiry as “(1) whether there was a false

statement or fraudulent course of conduct; (2) made or carried out with the requisite scienter; (3)



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that was material; and (4) that caused the government to pay out money or to forfeit moneys due

(i.e., that involved a claim).” U.S. ex rel. Harman v. Trinity Indus., Inc., 872 F.3d 645, 653–54 (5th

Cir. 2017). The scienter requirement is “[k]nowingly,” which means “actual knowledge of the

information,” “deliberate ignorance of the truth or falsity of the information,” or “reckless

disregard to the truth or falsity of the information.” 31 U.S.C. § 3729(b)(1)(A)(i)–(iii).

VI.     RELATOR FAILS TO PLEAD FCA CLAIMS BASED ON STARK LAW OR AKS
        In the healthcare context, two laws that often serve as FCA predicates are the AKS and

Stark Law. Relator has not pleaded, with particularity, a scheme based on either predicate, and

has not provided reliable indicia that lead to a strong inference that actual false claims were

submitted to the government based on Stark Law or AKS violations.

        Rule 9(b) requires a relator to plead “the details of an actually submitted false claim.”

Grubbs, 565 F3d at 190. In the alternative, a relator can plead “particular details of a scheme to

submit false claims paired with reliable indicia that lead to a strong inference that the claims were

actually submitted.” Id. Without details of a specific claim to the government (e.g., “Here is the

fraudulent bill for Patient X for date Y”), to meet the alternative test (particular details/reliable

indicia/strong inference) caselaw requires that relator had intimate knowledge of the

defendants’ billing systems, or detailed knowledge of the “dates that services were fraudulently

provided or recorded, by whom, and evidence of the department’s standard billing procedure.”

Id. at 189; see also, United States ex rel. Sparks v. IntegraCare Home Health Services, Inc., 6:14-CV-

480-JDK, 2022 W.L. 2709685, at *6 (E.D. Tex. Mar. 1, 2022) (explaining that reliable indicia in

Grubbs included date, place, participants, and the scheme, as well as the relator’s intimate

knowledge “because two of the defendants actually solicited the relator to participate in an

elaborate scheme”); United States ex rel. Park v. Legacy Heart Care, LLC, 3:16-CV-803-S, 2018

W.L. 5313884, at *8 (N.D. Tex. Oct. 26, 2018) (finding a relator did not provide reliable indicia

because there were conclusory allegations about the number of Medicare patients treated and the

number of fraudulent claims submitted and relator did not provide a factual basis for the

allegations); United States ex rel. King v. Solvay Pharm., Inc., 871 F.3d 318, 332 (5th Cir. 2017)


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(“[a]lthough it is not an unreasonable inference that Solvay intended these programs to boost

prescriptions, it would be speculation to infer that compensation for professional services legally

rendered actually caused the physicians to prescribe Solvay’s drugs to Medicaid patients.”).

       Relator pleads no “details of an actually submitted false claim.” Here, Relator pleads

“my competitor works at a different hospital, and I think his son-in-law does business with that

hospital.” That is the extent of his knowledge. This does not, and cannot, meet the alternative

“particular details of a scheme to submit false claims paired with reliable indicia that lead to a

strong inference that the claims were actually submitted.” Grubbs, at 190. In Grubbs, relator

brought the Court first-hand knowledge because the defendants personally briefed him on

their scheme(!). The Grubbs relator had intimate knowledge, and plead the

who/what/where/when. Relator does not do that. Rather, like Park and King v. Solvay Pharm.,

Relator wants the Court to speculate without adequate factual predicate or reliable indicia. As in

Park and King, this Court should dismiss Relator’s claims.
   A. RELATOR HAS NOT PLEAD A STARK LAW VIOLATION

       Relator has not/cannot plead an underlying Stark Law violation by Moving Defendants.

Stark Law prohibits a physician from making a referral under Medicare for DHS to an entity with

which the physician or a member of the physician’s immediate family has a financial relationship.

See 42 C.F.R. § 411.350. The statute states “if a physician (or an immediate family member of

such physician) has a financial relationship with an entity specified in paragraph (2), then:

           (A) the physician may not make a referral to the entity for the
               furnishing of designated health services…, and
           (B) the entity may not present or cause to be presented a claim...
               or bill to any individual, third party payor, or other entity for
               designated health services furnished pursuant to a referral
               prohibited under subparagraph (A).”
42 U.S.C.A. § 1395nn (bolding added). To plead a Stark Law violation as to Moving Defendants,

Relator must allege with particularity, that [1] a physician [2] made a referral [3] for DHS [4] to

an entity [5] with whom the physician has a financial relationship and, in turn, [6] the entity




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presented or caused to be presented a claim arising from such a referral to Medicare. 11 See United

States v Catholic Health Initiatives, 4:18-CV-123, 2022 WL 2657131, at *5 (S.D. Tex. Mar. 31,

2022], report and recommendation adopted sub nom. Chihi v Catholic Health Initiatives, 4:18-

CV-00123, 2022 W.L. 2652135 (S.D. Tex. July 8, 2022). The importance of Rule 9(b) in the

Stark Law/FCA context cannot be understated. In an important FCA case, U.S. ex rel. Drakeford

v. Tuomey, Circuit Judge, Hon. A. Wynn, Jr. concurred in the judgment, and stated:

                the Stark Law has proved challenging to understand and comply
                with…Stark law is infamous among health care lawyers and their
                clients for being complicated, confusing and counterintuitive; for
                producing results that defy common sense…elevating form over
                substance… invective used to describe the Stark law even borders
                on lyrical: ambiguous[,] arcane[,] and very vague; and heaps of
                words in barely decipherable bureaucratese…the Stark Law has
                become a booby trap rigged with strict liability and potentially
                ruinous exposure—especially when coupled with the [FCA].
792 F3d 364, 395 (4th Cir. 2015) (internal quotes omitted). Given the statutory ambiguity and

harsh consequences, the need for heightened pleading is apparent.

        Relator fails to plead a predicate Stark Law violation because (1) the Moving Defendants

are not subject to the prohibitions of the Stark Law. Yet, even if the Moving Defendants were

subject to regulation (they are not), (2) Relator has not plead with particularity a Stark Law

violation and/or reliable indicia that false claims were submitted based on a Stark Law violation.

     1. Mr. Gonzales and NuERA are Not Physicians
        Stark Law applies to referrals by physicians. See United States v Catholic Health Initiatives,

312 F Supp 3d 584, 590, n. 1 (S.D. Tex. 2018), aff’d sub nom. 792 Fed Appx 296 (5th Cir. 2019).

        Here, Relator alleges that Mr. Gonzales is a natural person, a seller and distributor of

medical devices used in surgery, and that he is Dr. Six’s son-in-law. (Dkt. 18, p. 2, ¶ 7). Relator

plead that NuERA is a seller of “surgical hardware.” (Id. at 11, ¶ 47). Relator did not/cannot



 Underlying Stark Law and AKS violations must also be pled with particularity and the Relator must
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“explain how these incidents fall into a larger scheme or plan to violate the FCA.” See U.S. ex rel. Parikh v
Citizens Med. Ctr., 977 F. Supp. 2d 654, 671 (S.D. Tex. 2013), aff’d sub nom., 762 F.3d 461 (5th Cir 2014),
op withdrawn and superseded on reh, 587 Fed. Appx. 123 (5th Cir 2014), withdrawn from bound volume
(Oct. 1, 2014), and aff’d sub nom., 587 Fed. App’x 123 (5th Cir. 2014) (emphasis added) (“Parikh”).


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plead that Mr. Gonzales or NuERA are physicians that made referrals (because they are not).

Moving Defendants cannot be held liable under the Physician Prong of the statute.

       2. Mr. Gonzales and NuEra Do Not Furnish DHS12
           Relator has not plead that Moving Defendants are persons or “entities” furnishing DHS.

See, e.g., U.S. ex rel. Gonzalez v. Fresenius Med. Care N. Am., 748 F Supp. 2d 95, 113 (W.D. Tex.

2010), aff’d sub nom., 689 F.3d 470 (5th Cir. 2012) (“outpatient dialysis services, are not [DHS]

and are not covered by the Stark Law.”) In 2009, the definition of “Entity” under the Stark Law

was amended to clarify that a “person or entity is considered to be furnishing DHS if it— (i) [i]s

the person or entity that has provided items or performed services that are billed as DHS; or (ii)

[i]s the person or entity that has presented a claim to Medicare for the DHS, including the person

or entity to which the right to payment for the DHS has been reassigned…” 42 C.F.R. § 411.351.

           Here, Relator alleges NuERA is a Texas limited liability company and that Mr. Gonzales

is the owner and sole member (Dkt. 18, p. 2, ¶ 8). Relator alleges that NuERA sells “surgical

hardware.” (Dkt. 18, p. 11, ¶ 47). Relator does not (and cannot) allege that Moving Defendants

provide/furnish DHS. See 42 C.F.R. § 411.351. This is simple, since medical devices/surgical

hardware are not DHS! And, Relator has not plead with particularity: (a) that Mr. Gonzales or

NuERA performed services/provided items that were billed as DHS; (b) any information about

how any items/services provided by Moving Defendants are billed; and/or (C) any facts to

support that Moving Defendants submitted bills to Medicare for any DHS. Relator merely pleads

that HMC and Prime agreed to buy surgical hardware and supplies from a NuERA (and other

companies represented by NuERA). (Dkt. 18, p. 12, ¶ 48). Even if true, this does not plead that

Moving Defendants fall with the definition of an Entity or person furnishing DHS. Moving

Defendants cannot be held liable under the DHS Entity prong of the statute and dismissal of

FCA claims based on alleged Stark Law is required. Relator may argue conspiracy, but his failure

to plead a FCA or TMFPA conspiracy is discussed in Section XI.


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     The list of “Designated health services (DHS)” is found at 42 C.F.R. § 411.351.


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     3. Relator Did Not Plead a Stark Law Violation Or Reliable Indicia
        Assuming arguendo that Moving Defendants fall within the reach of the Stark Law (they

do not), the FCA Claims based on Stark Law still should be dismissed because Relator has not

plead a Stark Law violation with particularity, and/or any reliable indicia that false claims were

submitted to the government based thereon.13 When a complaint does not allege the details of an

actual false claim, the Court analyzes the allegations under the Grubbs standard, looking for

particularized details of a scheme coupled with reliable indicia leading to a strong inference that

false claims were actually submitted. United States ex rel. Frey v. Health Mgt. Sys., Inc., 4:21-CV-

02024, 2023 W.L. 2563239, at *7 (S.D. Tex. Feb. 10, 2023), report and recommendation adopted

sub nom., 4:21-CV-02024, 2023 W.L. 2564342 (S.D. Tex. Mar. 17, 2023); U.S. ex rel. Woods v.

SouthernCare, Inc., 3:09-CV-00313-CWR, 2013 WL 1339375, at *9 (S.D. Miss. Mar. 30, 2013)

(discussing Grubbs and stating the “allegations do not include particular details of a scheme or

reliable indicia that claims having false certifications of Stark Law compliance were submitted to

the Government.”); U.S. ex rel. Foster v. Bristol-Myers Squibb Co., 587 F Supp 2d 805, 825 (E.D.
Tex. 2008) (“Foster does not provide any factual details from which this Court can reasonably

infer a link between the…scheme…and the submission of a claim…to the United States”).

        Here, Relator pleaded no specific false claims and did not plead reliable indicia that false

claims were submitted based on Stark Law violations. Relator pleaded no actual claims (claim

number, payment, etc.) or details of an alleged scheme including specific dates, specific referrals

(patients or patient identification numbers), billed amounts, compensation formulas, dates when

improper compensation was paid/received, and/or specific payments by the government. Relator

doesn’t plead how Moving Defendants are involved in any billing (or involved in an alleged

scheme). Relator doesn’t link any alleged referrals, payments, times, the identity of any patient,

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  Relator fails to alert Moving Defendants as to or particularize the “Financial Relationship” at issue. A
Financial Relationship under the Stark Law means either: “(i) [a] direct or indirect ownership or
investment interest…in any entity that furnishes DHS;” or “(ii) [a] direct or indirect compensation
arrangement with an entity that furnishes DHS.” 42 C.F.R. § 411.354(a)(1)(i)-(ii). Absent this element,
Moving Defendants do not have notice required to defend under Rule 8, and this alone requires dismissal
of the FCA claims based on Stark Law. Notwithstanding, Moving Defendants adopt HMC Defendants’
argument that a direct or indirect Financial Relationship has not been alleged with particularity.


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surgery specifics, or the person that actually and knowingly submitted or caused a false claim

based on a Stark Law violation, to which government payer any claim was submitted, or billing

systems details showing reliability. Relator has no intimate knowledge. Grubbs, 565 F.3d at 189

and Sparks, 2022 W.L. 2709685, at *6, explain that reliable indicia include date, place,

participants, the particulars of the scheme, as well as the relator’s intimate knowledge. Sparks

states that “general allegations do not provide any ‘reliable indications of fraud’ and do not

‘plead a level of detail’ to show that Defendants engaged in a scheme to defraud the

government.” 2022 WL 2709685, at *6; United States ex rel. Park v Legacy Heart Care, LLC, 3:16-

CV-803-S, 2018 WL 5313884, at *8 (N.D. Tex. Oct. 26, 2018) (estimate that about 80% of the

patients are Medicare beneficiaries and 80% lacked eligibility for coverage is conclusory); cf.

United States ex rel. Emerson Park v Legacy Heart Care, LLC, 3:16-CV-0803-S, 2019 WL 4450371,

at *7 (N.D. Tex. Sept. 17, 2019) (“Park II”) (finding reliable indicia as relator alleged knowledge

of billing, including that head of billing department reprimanded relator for “correctly assess[ing]

the patient” and not automatically using alleged improper billing code).

       Like United States ex rel. Park and Sparks, here, the allegations are general. All the reliable

indica of a scheme to defraud the government are missing, and unlike Park II Relator pleads no

intimate knowledge about billing. Relator lumps defendants together, speculates, and claims that

all of the bills that Dr. Six, HMC, either, or both has submitted… “violated the Stark Law.”

(Dkt. 18, pp. 12-13, ¶ 53). It is “impermissible to make general allegations that lump all

defendants together.” United States ex rel. Frey v. Health Mgt. Sys., Inc., 2023 WL 2563239, at *7.

Relator relies on guess/speculation, and pleads lawful behavior that:

          The more surgeries Dr. Six performs at HMC, the more money HMC and PHS make.
           (Dkt. 18 ¶ 46) and that HMC purchased from NuERA to “reward” Dr. Six for
           performing surgeries at HMC rather than a competing hospital (Dkt. 18, p. 12 ¶ 48).
       Relator also pleads: “Upon information and belief, HMC did not purchase goods and

services from NuERA when other spine surgeons operated at the hospital.” (Id. at ¶ 51). This

allegation does not contain sufficient detail to make it “plausible on its face.” See Twombly, 550



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U.S. at 551, 557, 127 S. Ct. 1955 (requiring additional facts to make the “information and belief”

allegation plausible). Relator does not plead the source of his information and belief, nor any

examples to make the belief plausible. This fails to satisfy Rule 8, let alone particularize under

Rule 9(b), how Moving Defendants violated the Stark Law. In the absence of an actual claim,

particulars of the scheme, and reliable indicia and facts linking a Stark Law violation to an actual

false claim, dismissal of claims against Moving Defendants is required.
   B. RELATOR FAILS TO PLEAD AN AKS SCHEME OR RELIABLE INDICIA
       Despite Relator’s attempt to conflate the AKS and Stark Law, the AKS does not have a

“tainted immediate family member” concept. Rather, the AKS “criminalizes the payment of any

funds or benefits designed to encourage an individual to refer another party to a Medicare

provider for services to be paid for by the Medicare program.” United States ex rel. Ruscher v.

Omnicare, Inc., 663 F. App’x 368, 374 (5th Cir. 2016).” The AKS prohibits the following conduct:

               knowingly and willfully offer[ing] or pay[ing] any remuneration
               (including any kickback, bribe, or rebate) directly or indirectly,
               overtly or covertly, in cash or in kind to any person to induce such
               person … to refer an individual to a person for the furnishing ... of
               any item or service for which payment may be made in whole or in
               part under a Federal health care program.”
Id. at 373 (citing 42 U.S.C.A. § 1320a-7b(2)(A)); United States v. Marlin Med. Sols. LLC, 579 F

Supp 3d 876, 885 (W.D. Tex. 2022) (“The…kickback be received knowingly and willfully.”).

       An FCA violation based on the AKS must be plead with particularity. See United

States ex rel. Nunnally v. W. Calcasieu Cameron Hosp., 519 F. App’x 890, 894 (5th Cir. 2013).

Relator’s Complaint heavily cites Parikh, 977 F. Supp. 2d at 666–68 (Dkt. 18, ¶¶ 26 and 66). In

Parikh, the court complaint satisfied Rule 9(b) based on the AKS because the complaint “[i]n

exacting detail comprising eleven pages—included 28 examples of specific Medicare or Medicaid

patients that the [emergency room] physicians referred for treatment at the Chest Pain Center.”

Id. The gap between Parikh’s “exacting detail” with 28 specific federal payor patients, and

Relator’s rumor/innuendo pleading, is vast.

       Notably, Parikh dismissed claims against other defendants as that relator did not



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“provide specific details explaining how the hospitalists [were] engaged in a [kickback] scheme.”

Abundant Life Therapeutic Services Texas, LLC, CV H-18-773, 2019 WL 1930274, at *7

(discussing Parikh). Likewise, complaints that “devote[] a single, vague paragraph to the alleged

kickback scheme, mentioning defendants’ programs…” should be dismissed. United States ex rel.

Colquitt v. Abbott Labs., 858 F3d 365, 372 (5th Cir. 2017).

        In Abundant Life, the court dismissed a complaint that “allege[d] more facts about the

scheme than the Colquitt pleading” because, inter-alia, it did not explain “how and why [Ford]

believed that remuneration would induce new business.” 2019 WL 1930274, at *8. In U.S. ex rel.
Lam v. Tenet Healthcare Corp., the court dismissed FCA claims based on the AKS because, inter-

alia, plaintiff did not provide “sufficient information to discern that the…financial arrangements

made between Tenet and the referring physicians were illegal or made for the purpose of

inducing referrals” and relator “failed to link the allegedly fraudulent scheme with the

submission of actual claims…to the Government.” 481 F Supp 2d 689, 698 (W.D. Tex. 2007).

While an actual claim is not required, this does not alleviate the burden of sufficiently pleading

the time, place, or identity details of the alternative standard to satisfy Rule 9(b)’s function of fair

notice and protection from frivolous suits. Nunnally , 519 Fed App’x at 895.

        Here, Relator fails to particularize an AKS scheme and fails to plead reliable indicia of a

false claim based on an AKS violation. The information that is missing “would be known to a

relator with original information about an unlawful kickback scheme.” United States ex rel.

Colquitt, 858 F.3d at 372. Relator must plead “reliable indicia that lead to a strong inference’ that

false claims connected to [and] based on illegal kickbacks were actually submitted.” United States

v. Senseonics Holdings, Inc., SA-20-CV-00657-FB, 2023 WL 2354915, at *4 (W.D. Tex. Mar. 3,

2023), report and recommendation adopted, 2023 WL 2711637 (W.D. Tex. Mar. 30, 2023).

Unlike the Parikh allegations with 28 specific examples, Relator’s allegations are like Colquitt,

Abundant Life, and Tenet Healthcare Corp. because they are conclusory speculation that anyone

without reliable, intimate knowledge could allege:

            HMC provides an illegal financial payment to Dr. Six’s family each time

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            Dr. Six performs a surgery at HMC” and “upon information and belief,
            Dr. Six, and Gonzales have engaged in this scheme since at least 2012.
(Dkt. 18,¶¶ 55-56). Merely knowing of a son-in-law relationship, guessing that business was

conducted with a hospital, and speculating the relationship is illegal does not make it so, and is a

legal conclusion. See Nunnally, 519 Fed. App’x at 894 (the “complaint merely offers sweeping

and conclusory allegations of ‘verbal agreements…without a shred of detail or particularity.”);

Sparks, 2022 W.L. 2709685, at *6 (stating, unlike here, the Grubbs “sets out the particular

workings of a scheme…communicated directly to the relator by those perpetrating the fraud.”).

       The Complaint has no particularized facts concerning defendants’ billing systems,
Moving Defendants’ billing, or people involved in billing. There are no facts to support a

purported AKS scheme or knowledge of such a scheme: who (patient referrals, and who

submitted claims), what (amounts of payments), when (dates or referrals or payments), or any

other indicators of reliability. Without these particulars, Relator did not and cannot link an AKS

violation (scheme) to the submission or causation of actual false claims or charges to the

Government under Rule 9(b). “When it comes to violations of the [AKS], only submitted claims

‘resulting from’ the violation are covered by the False Claims Act.” United States ex rel. Martin v

Hathaway, 63 F.4th 1043, 1052 (6th Cir. 2023) (citing 42 U.S.C. § 1320a-7b(g)) and holding

failure to “allege[] but-for causation…[as] [t]here’s not one claim for reimbursement identified

with particularity in this case that would not have occurred anyway…”). Here, Relator merely

alleges “…every bill that Dr. Six, HMC, either, or both…violated the Anti-Kickback Statute.”

(Dkt. 18). Again, this does not show Moving Defendants’ involvement in billing and lacks any

indicia of reliability. Relator has no precise dates. Rather, he alleges on “information and belief”

that all conduct took place since 2012, which ironically roughly coincides with 10-year statute of

limitation for the FCA. These general statements do not satisfy Rule 9(b), see U.S. ex rel. Hebert

v. Dizney, 295 Fed Appx 717, 722 (5th Cir. 2008) (general statement include “Defendants made

knowingly false representations ... at least once each year…”), as they fail to specify the “what,

when, or where” of an AKS fraud violation that must be plead with specificity and/or fail to

plead how Moving Defendants were the “but for cause” of claim submitted based on an AKS


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violation, which is required under the AKS statute. Nor did Relator plead the below elements of

an AKS violation. Thus, the AKS based claims should be dismissed.
   1. Relator Did Not Plead Actual Inducement or Remuneration
       Actual inducement is an element of the AKS violation, which required the Relator to

plead a “reliable indicia that there was a kickback [“remuneration’] provided in turn for the

referral of patients.” Nunnally., 519 Fed. App’x at 894 (the Complaint did not plead “any

particular details of any actual referral by a physician…or even to offer a time period more

distinguishing than ‘[s]ince approximately 1992 and continuing to date,” and did not identify a

single claim submitted for services rendered pursuant to an illegal referral.).

       Here, like Nunnally, Relator pleads no particulars about an actual inducement. Rather,

Relator pleads in sweeping and conclusory terms that Dr. Six referred patients to HMC. (Dkt. 18,

p. 14, ¶ 65). Relator speculates, with no intimate knowledge, no specifics and only “information

and belief” that alleged conduct took place “at lease since 2012.” (Id.). The Relator also fails to

particularize the element of “remuneration.” Marlin Med. Sols. LLC, 579 F Supp 3d at 884

(relator must plead the defendant “solicited or received, or offered or paid remuneration”).

“[I]mproper remuneration [must] relate[] to the inducement of referrals, making it plausible that

[Moving Defendants] specifically intended to do something the law forbids.” United States ex rel.

Patel v. Catholic Health Initiatives, 312 F. Supp. 3d 584, 599 (S.D. Tex. 2018)). Remuneration is

not defined in the AKS, but OIG (who oversees AKS) looks to the Civil Monetary Penalties

Law’s definition of remuneration which “includes waiver of coinsurance and deductible amounts

(or any part thereof), and transfers of items or services for free or for other than fair market

value” 42 U.S.C. § 1320a-7a(i)(6). Relator has not pled the who, what, where, when, or how

Moving Defendants received/ paid remuneration in exchange for a referral, including when and

how it was paid, how any remuneration related to an inducement, or links to a false claim. Like

Senseonics Holdings, Inc., there are no “detailed allegations in Relator’s pleadings that give rise to

a strong inference that any payments…” made or received by Moving Defendant were improper

or for inducement. 2023 WL 2354915, at *5. Relator’s failure to particularize inducement and


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remuneration requires dismissal of the FCA claims based on AKS.

       2. Relator Did Not Plead “Knowing and Willful” Acts
         AKS liability attaches only if the defendant “knowingly and willfully offer[ed] or pay[ed]

[or received] any remuneration (including any kickback, bribe, or rebate) …[to] induce such

person ... to refer an individual to a person for the furnishing ... of any item or service for which

payment may be made in whole or in part under a Federal health care program.” Parikh., 977 F

Supp 2d at 662-63. “[K]nowingly” means “done voluntarily and intentionally, not because of

mistake or accident,” and “willfully” means “committed voluntarily and purposely with the

specific intent to do something the law forbids…”Patel , 312 F. Supp. 3d at 594.
         Relator has alleged no facts to support that Moving Defendant knew that any acts were

undertaken based on improper remuneration (kickback, bribe, etc.) or for the purpose of inducing

a referral. The only knowledge alleged is that Defendants knew that Mr. Gonzales was Dr. Six’s

son-in-law. (Dkt. 18, p. 12 ¶ 50). This does not make nor plead an illegal AKS scheme. This does

not specify facts to support that Moving Defendants (or other companies represented by

Gonzales) knew alleged purchases/payments were made for purposes of inducing referrals, or

that Moving Defendants knowingly acted with specific intent to do something the law forbids.

Thus, the FCA claims against Moving Defendants based on AKS must be dismissed.

VII.     RELATOR DID NOT PLEAD EXPRESS OR IMPLIED CERTIFICATION

         Falsity is a key element of an FCA Claim. Factually false claims are claims that goods or

services were provided, but were not. United States ex rel. Jackson v Ventavia Rsch. Grp., LLC,

1:21-CV-00008, 2023 WL 2744394, at *11 (E.D. Tex. Mar. 31, 2023). “Legally false claims…

contain an ‘express’ or ‘implied’ certification of compliance with statutory, regulatory, or

contractual requirements when, in fact, the claimant has not complied...” Id. at 11. The “express

false certification theory of FCA liability is predicated upon outright misrepresentations made to

the Government on a…claim...” Id. Implied false certification occurs when: “[a claim submitted

to the United States] does not merely request payment, but also makes specific representations

about the goods or services provided; and…the defendant’s failure to disclose noncompliance


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 with material statutory, regulatory, or contractual requirements makes those representations

 misleading half-truths.” Id. at *14. In the AKS context, “…the basis of liability is the certification

 of compliance [with the AKS], not the payment or acceptance of remuneration.” U.S. ex rel.

 Bennett v. Medtronic, Inc., 747 F Supp 2d 745, 784 (S.D. Tex. 2010) (“Bennett”). This court

 requires relator to plead the “who, what, when, where, and how’ of the alleged false

 certifications.” Id. at 785 (dismissed for failure to plead particulars of an AKS certification).

          Here, Relator has not pled with particularity that Moving Defendants expressly or

 impliedly certified compliance with the AKS or Stark Law. The words “certify” or “certified”
 appear in the Complaint as legal conclusions or generally refer to “hospital or physician” or

 forms without stating who submitted the forms. (e.g., Dkt. 18, ¶¶ 24-26, 34, 40-41, and 70). But

 no particularized facts plead the who, what, where, when, and how a Moving Defendant certified

 compliance with any statue, rule, or regulation, or made a misrepresentation, to the government.

 Relator cannot rely on certification theory against the Moving Defendants. Nor has Relator

 alleged any facts showing how Moving Defendants “caused” another defendant to make false

 certifications. Id. at 784. This requires dismissal of the FCA claims against Moving Defendants.

VIII.     RELATOR DID NOT PLEAD PRESENTMENT BY MOVING DEFENDANTS
          Relator does not allege with particularity a key element of an FCA presentment claim –

 that Moving Defendants presented a claim to the government. U.S. ex rel. Steury v. Cardinal

 Health, Inc., 625 F.3d 262, 267 (5th Cir. 2010). Relator merely pleads that: “every bill that Dr.

 Six, HMC, either, or both has submitted to the USG or TSG.. has violated the Stark Law (Dkt.

 18, ¶ 53) and the AKS (Dkt. 18, ¶ 58). Relator doesn’t even know who purportedly billed –

 “either, or both”! Relator’s Cause of Action section makes a similar lumping legal conclusions,

 that every “Defendants submitted and/or caused to be submitted…false or fraudulent claims for

 payment or approval…”(Dkt. 18, ¶ 75). Relator must satisfy Rule 9(b) as to each defendant.

 Unimobil 84, Inc. v. Spurney, 797 F.2d 214, 217 (5th Cir. 1986) (general allegations that do not

 allege wrongdoing of each separate defendant do not satisfy Rule 9(b)). Relator’s allegation that



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every defendant submitted false claims is meaningless, and is bereft of reliable indicia that

Moving Defendants submitted or caused false claims to the government. This does not provide

notice under Twombly to prepare a defense, nor does it satisfy Rule 9(b). Dismissal is required.

IX.     RELATOR DID NOT PLEAD “CAUSATION”
        Relator did not plead that Moving Defendants caused a false claim to be submitted.

“Causation under the FCA requires proximate cause, not merely ‘but for’ cause.” United States

ex rel. Hueseman v. Professional Compounding Centers of Am., Inc., SA-14-CV-00212-XR, ---

F.Supp.3d---, 2023 WL 2669879, at *20 (WD Tex. Mar. 27, 2023). A defendant may have caused
submission of a claim if its conduct was “(1) a substantial factor in inducing providers to submit

claims for reimbursement, and (2) if the submission of claims for reimbursement was reasonably

foreseeable or anticipated as a natural consequence of defendants’ conduct.” Id. at *20.

   Here, Relator has not plead any facts showing Moving Defendants induced anyone to submit

a claim for reimbursement, and/or that it was foreseeable, or a natural consequence of anything

Moving Defendant are alleged to have done. In Bennett, the court discussed the detail required to

plead a defendant causation as indicated by Grubbs, 565 F.3d at 192. There, the plaintiff provided

“detail, including the date, place, and participants, the dinner meeting at which two doctors in his

section attempted to bring him into the fold of their on-going fraudulent plot. He alleges his first-

hand experience of the scheme unfolding before him, describing how the weekend on-call nursing

staff attempted to assist him in recording face-to-face physician visits that had not occurred.” 747

F. Supp 2d at 781. Without this level of detail, Bennett held “the relators’ complaint does not

sufficiently allege that by promoting off-label use, Medtronic caused the submission of false

claims and is liable under the FCA.” Id. The same is true here. Even if HMC bought surgical

supplies/devices from Moving Defendants, that does not plead how Moving Defendants caused

false claims to be submitted. The FCA claim should be dismissed for failure to plead Moving

Defendants proximately caused false claims to be submitted.

 X.     RELATOR DID NOT RIGOROUSLY PLEAD SCIENTER

        Relator did not rigorously plead scienter in the manner outlined by Escobar., 579 U.S. at


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192. Courts in this circuit have noted, “[a]llegations of scienter may be averred generally, but

simple allegations of fraudulent intent will not suffice, and ‘plaintiffs must set forth specific facts

supporting an inference of fraud.” United States ex rel. Hendrickson v Bank of Am., N.A., 343 F

Supp 3d 610, 635 (N.D. Tex. 2018), aff’d, 779 Fed. Appx. 250 (5th Cir. 2019); United States ex

rel. Monsour v. Performance Accounts Receivable, LLC, 2022 W.L. 16840338, at *6 (S.D. Miss.

Nov. 9, 2022)(discussing the “rigorous” scienter element and that relator did “not provide a

sufficient basis to show how” defendant would have known or was reckless). 14

        Relator pleads no facts related to scienter (knowledge/reckless disregard). Relator pleads
no specifics claims, referrals, remuneration, dates, amounts, billing, referrals, kickbacks, identity

of persons who submitted claims, links to false claims, or which payers. No facts allege that

Moving Defendants knew or were in a position to know or disregard compensation that varied in

relation to a referral, a kickback paid for a referral, or that there was a false claim or statement

made in connection with a claim to the government. Relator lumps all defendants together and

alleges “every bill that Dr. Six, HMC, either, or both has submitted…violated the Stark Law”

(Dkt. 18, p. 12, ¶ 53) and the AKS (Id. at ¶ 58). This mish-mosh lumping of the defendants

precludes pleading scienter as to an individual defendant.

        In Hendrickson, the Court found that Relator “insufficiently pleaded the alleged

misconduct [and] fail[ed] to identify which…representatives allegedly confirmed misconduct to

investigators, so that alleged fact also does not support an individualized finding of scienter.” 343

F Supp. 3d at 636. (emphasis added). The same is true here. There are no facts to even show

how Moving Defendants were or could be in a position to see or even be aware of a false

claim. Relator implies that by mere sales of the equipment that Moving Defendants knowingly or

recklessly disregarded false claims. In Hendrickson, relator similarly argued Defendants were

knowledgeable participants in an Automated Clearing House (“ACH”) network and cited

certain Green Book rules related to ACH. 343 F. Supp 3d at 636. Hendrickson held that “FCA

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  Mistakes or negligence do not suffice. United States ex rel. Jacobs v. Walgreen Co., 21-20463, 2022 W.L.
613160, at *1 (5th Cir. Mar. 2, 2022), cert denied sub nom., 214 L Ed 2d 23, 143 S Ct 104 (2022).


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liability does not attach when a defendant reasonably, yet erroneously, interprets its legal

obligations.” Id. (the FCA’s scienter “requires plaintiffs to prove that the defendant knows that

he violated an obligation, not simply that he mistakenly interpreted a legal obligation.”). Stating a

defendant was a participant and must have known of a rule, a violation, a false claim, or recklessly

disregarded the same is not enough without supporting facts. Relator simply alleges HMC bought

equipment from Moving Defendants - this is not enough to plead knowledge or disregard of

illegal conduct or false claims. All FCA claims must be dismissed against Moving Defendants.

XI.     RELATOR DID NOT ALLEGE A CONSPIRACY WITH PARTICULARITY
        To plead FCA conspiracy, Relator must allege, particular facts that establish both an

unlawful agreement to have a false claim paid, and at least one act to further the conspiracy. U.S.

ex rel. Farmer v. City of Houston, 523 F.3d 333, 343 (5th Cir. 2008). The Complaint must allege

that the co-conspirators shared “specific intent to defraud the government,” Marlin Med. Sols.

LLC, 579 F. Supp 3d at 895, and agreement for the “purpose of having an impact on the

Government’s decision to pay false…claims.” U.S. ex rel. King v Solvay S.A., 823 F. Supp 2d

472, 517 (S.D. Tex. 2011], order vacated in part on reconsideration, CIV.A. H-06-2662, 2012 WL

1067228 (S.D. Tex. Mar. 28, 2012)(“King I) (agreement did not indicate any illegalities). It is not

enough to allege defendants “intended to engage in the conduct that resulted in the injury.”

United States ex rel. Integra Med Analytics, LLC v. Creative Sols. in Healthcare, Inc., SA-17-CV-

1249-XR, 2019 WL 5970283, at *12 (W.D. Tex. Nov. 13, 2019)

        Relator does not allege facts showing that Moving Defendants specifically agreed to have

a false claim paid with intent to defraud the government or acts in furtherance. Relator does not

allege dates, where, when, and how Moving Defendants agreed to get false claims paid, which

claims and to which payers. Even if Moving Defendants agreed to sell medical devices, this is not

the equivalent of an agreement to violate the law or get false claims paid. In United States ex rel.

Integra Med Analytics, various doctors were found to have submitted false claim over the years,

but this “did not, by itself, do more than point to the possibility of an agreement among them.”

2019 WL 5970283, at *12 (citing Grubbs) (internal quotes omitted). Mere possibility fails to


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 satisfy the Rule 8 plausibility standard, as it does not “raise a right to relief above the speculative

 level.” Lozano v. Baylor Univ., 408 F Supp 3d 861, 887 (W.D. Tex. 2019). The FCA conspiracy

 claims against Moving Defendant implausible, unparticularized, and should be dismissed.

XII.     RELATOR FAILED TO PLEAD ANY TMPFA CLAIMS
         The Fifth Circuit considers TMFPA claims analogous to FCA claims. United States v.

 Dental Health Programs, Inc., 3:18-CV-00463-E, 2020 WL 3064712, at *7 (N.D. Tex. June 8,

 2020). Although the TMPFA does not require claim payment, Relator must still satisfy Rule 9(b)

 and allege the falsity or misrepresentation of material fact, or concealment or nondisclosure of

 information, with particularity as it concerns the TMFPA. Id.

         Here, Relator has not plead particularized facts to support that Moving Defendants

 submitted or caused actual false claims, participated in any Stark Law or AKS scheme, acted

 with scienter, made any false statement or misrepresentation (e.g., TMFPA § 36.002(4)(B)),

 made or received any improper charges/gifts/donations (e.g., TMFPA § 36.002(5)), nor reliable

 indicia that any false claim or statement was made or caused to be submitted by the Moving

 Defendants. Relator did not allege language or conduct attributable to the Moving Defendants

 that indicates an agreement to defraud the federal government or the State of Texas. Dental

 Health Programs, Inc.. 2020 WL 3064712, at *15. The scienter /culpable mental state under the

 TMFPA is essentially the same as the FCA (e.g., “know[ing]” “conscious indifference” or

 “reckless disregard” Tex. Hum. Res. § 36.0011(a)(1)-(3)). As with the FCA claims, Relator

 pleads no particularized facts to show Moving Defendants knew, could know or deliberately or

 recklessly disregarded any falsity in connection with a claim. See Catholic Health Initiatives, 4:18-

 CV-123, 2022 WL 2657131, at *13 (TMFPA claims dismissed because the FCA claims were

 dismissed for failure to allege defendants’ basic involvement in the scheme). The TMFPA claims

 must be dismissed. Alternatively, as the FCA claims should be dismissed, the Court should

 decline supplemental jurisdiction over the TMFPA claims. Jacobs, 2022 W.L. 613160, at *2.
XIII.    RELIEF/CONCLUSION
         For all the foregoing reasons, the Court should dismiss the Complaint, with prejudice.


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Respectfully submitted on May 26, 2023.

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                                CERTIFICATE OF SERVICE

         I hereby certify that on May 26, 2023, I electronically filed the foregoing Defendants
Michael Gonzales and NuERA Medical L.L.C.’s Motion to Dismiss Under Federal Rules 12(b)
and 9(b) using the CM/ECF system, which will automatically send email notification of such
filing to all attorneys of record.


                                            Clinton Mikel /s/
                                            Clinton Mikel




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